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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

SHERIDON SHELBY,                        §
        Plaintiff,                      §
                                        §
v.                                      §        No. 3:18-cv-532-B (BT)
                                        §
KWIK CAR/GUIDE STAR,                    §
        Defendant.                      §


                                   ORDER

      Plaintiff filed a motion for appointment of counsel. A plaintiff in a

civil action is not entitled to court-appointed counsel as a matter of right.

Lopez v. Reyes, 692 F.2d 15, 17 (5th Cir. 1982). Rather, the decision

whether to appoint counsel for an indigent litigant rests within the sound

discretion of the trial court. See 28 U.S.C. § 1915(e)(1). In this case, the

Defendant has not yet filed an answer. The Court therefore denies the

motion without prejudice as premature.

      SO ORDERED.

      Signed March 20, 2018.



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                               REBECCA RUTHERFORD
                               UNITED STATES MAGISTRATE JUDGE
